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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on September 15, 2023
UNITED STATES OF AMERICA : CRIMINAL NO.

v. : MAGISTRATE NO. 22-CR-00166-MAU

JOHN GEORGE TODD III : VIOLATIONS:
: 18U.S.C. §§ 111(a)(1) and (b)
Defendant. :  (Inflicting Bodily Injury on Certain

: Officers)
18 U.S.C. § 1752(a)(1)
(Entering and Remaining in a Restricted
Building or Grounds)
18 U.S.C. § 1752(a)(2)
(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)
40 U.S.C. § 5104(e)(2)(D)
(Disorderly Conduct in
a Capitol Building)
40 U.S.C. § 5104(e)(2)(G)
(Parading, Demonstrating, or Picketing in
a Capitol Building)

INDICTMENT

The Grand Jury charges that:

COUNT ONE

On or about January 6, 2021, within the District of Columbia, JOHN GEORGE TODD
III, did forcibly assault, resist, oppose, impede, intimidate, interfere and inflict bodily injury on,
an officer and employee of the United States, and of any branch of the United States Government
(including any member of the uniformed services), and any person assisting such an officer and

employee, that is N.R., an officer with the Metropolitan Police Department, while such officer or
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employee was engaged in or on account of the performance of official duties or where the acts in
violation of this section involve physical contact with the victim and the intent to commit another

felony.

(Inflicting Bodily Injury on Certain Officers, in violation of Title 18, United States
Code, Sections 111(a)(1) and (b))

COUNT TWO

On or about January 6, 2021, in the District of Columbia, JOHN GEORGE TODD III
did knowingly enter and remain in a restricted building and grounds, that is, any posted, cordoned-
off, and otherwise restricted area within the United States Capitol and its grounds, where the Vice
President was and would be temporarily visiting, without lawful authority to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1))

COUNT THREE

On or about January 6, 2021, in the District of Columbia, JOHN GEORGE TODD III
did knowingly, and with intent to impede and disrupt the orderly conduct of Government business
and official functions, engage in disorderly and disruptive conduct in and within such proximity
to, a restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted
area within the United States Capitol and its grounds, where the Vice President was and would be
temporarily visiting, when and so that such conduct did in fact impede and disrupt the orderly
conduct of Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2))

COUNT FOUR

On or about January 6, 2021, in the District of Columbia, JOHN GEORGE TODD III

willfully and knowingly engaged in disorderly and disruptive conduct within the United States

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Capitol Grounds and in any of the Capitol Buildings with the intent to impede, disrupt, and disturb
the orderly conduct ofa session of Congress and either House of Congress, and the orderly conduct
in that building of a hearing before or any deliberation of, a committee of Congress or either House
of Congress.
(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))

COUNT FIVE

On or about January 6, 2021, in the District of Columbia, JOHN GEORGE TODD III
willfully and knowingly paraded, demonstrated, and picketed in any United States Capitol
Building.

(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(G))

A TRUE BILL:

FOREPERSON.

Attorney of the United States in
and for the District of Columbia.
